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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                   No. 4:08CR00054-07 JLH

JASON GILBERT

                                               ORDER

       This Court dismissed Jason Gilbert’s petition under 28 U.S.C. § 2255 on February 25, 2014,

and ruled at that time that Gilbert had failed to make a substantial showing that he was denied a

constitutional right, so no certificate of appealability would be issued. Gilbert has now filed a notice

of appeal and an application for a certificate of appealability. As noted, the Court has previously

determined that no certificate of appealability would issue in this case. Therefore, the motion is

DENIED. Document #412.

       IT IS SO ORDERED this 12th day of March, 2014.




                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
